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                        IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION


 J.O.P., et al.,

         Plaintiffs,
                                                               Civil Action No.
         v.                                                    8:19-CV-01944-SAG

 U.S. Department of Homeland Security, et al.,

         Defendants.


                                              ORDER

        This Court has reviewed recently filed correspondence from Class Counsel, ECF 258, and

hereby ORDERS as follows:


         1. The Court’s April 23, 2025 Order, ECF 254, is amended to modify the class cut-off

              date pursuant to agreement by the parties as follows:

              Defendants are hereby ORDERED not to remove from the United States members of

              the certified “Class,” defined in Section II.E of the Settlement Agreement, ECF 199-

              2 at 5, as “all individuals nationwide who [on or before February 24, 2025]: (1) were

              determined to be a[n] [Unaccompanied Alien Child, as defined in 6 U.S.C. §

              279(g)(2)]; and (2) who filed an asylum application that was pending with USCIS;

              and (3) on the date they filed their asylum application with USCIS, were 18 years of

              age or older, or had a parent or legal guardian in the United States who is available to

              provide care and physical custody; and (4) for whom USCIS has not adjudicated the

              individual’s asylum application on the merits.” Once USCIS adjudicates a Class




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           Member’s asylum application on its merits, the individual is no longer a Class

           Member and no longer enjoys the protection of the Settlement Agreement.

        2. The Court will hold an in-person status conference on May 6, 2025 at 11:00 a.m. to

           discuss a) whether to require Defendants to provide a list of all Class Members who

           have been removed from the United States on or after November 25, 2024, and b) the

           actions Defendants have taken to comply with this Court’s April 23, 2024 Order, ECF

           254.



Dated: April 30, 2025                                             /s/

                                                  Stephanie A. Gallagher
                                                  United States District Judge




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